Case 21-00327-NGH        Doc 40     Filed 10/12/21 Entered 10/13/21 09:44:17          Desc Main
                                   Document      Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO

 IN RE:                                     )      CHAPTER 13
                                            )
 Hector Barraza Vizcarra                    )      CASE NO. 21-00327-NGH
 Patricia Rivera Echevarria                 )
                                            )

  ORDER APPROVING COMPROMISE, FEES TO SPECIAL COUNSEL, AND FOR
   TURNOVER OF PORTION OF THE PROCEEDS TO THE TRUSTEE FOR THE
                   BENEFIT OF THE CREDITORS
                           (docket no. 33)

This matter coming before the Court on the Trustee’s motion to (1) settle and compromise a

personal injury lawsuit between the Estate, the Debtors, American Family Insurance for Jeff

Sharpe, and Debtors’ automobile insurance company Farm Bureau Insurance for the sum of

$50,000 from American Family Insurance and a sum no less than $62,273.69 from Farm Bureau;

(2) approve fees and costs for special counsel in the amount of $37,485.85 plus one third of any

additional recovery on the under insured motorist claim against Farm Bureau Insurance, and to

pay medical and subrogation claims from the settlement proceeds totaling $22,739.69; and lastly,

(3) for fifty percent of the net proceeds of the settlement in the amount of $26,024.07 plus one

third of any additional recovery from the under insured motorist claim to be turned over to the

trustee for distribution to the Debtor’s creditors, and good cause appearing:

       IT IS HEREBY ORDERED that the Trustee’s motion to Approve the Compromise

(docket no. 33) between the Estate, the Debtors, American Family Insurance for Jeff Sharpe, and

Debtors’ automobile insurance company Farm Bureau Insurance from a claim arising out of a

motor vehicle accident occurring on September 5, 2019 in which Patricia Rivera Echevarria was

struck by a vehicle driven by Jeff Sharpe for a sum of no less than $112,273.69 is hereby

APPROVED.
Case 21-00327-NGH         Doc 40     Filed 10/12/21 Entered 10/13/21 09:44:17            Desc Main
                                    Document      Page 2 of 3

       IT IS FURTHER ORDERED that from the gross settlement proceeds of $112,273.69

Debtor’s personal injury attorney, Nikki Ramirez-Smith shall pay the following medical

expenses and subrogation claims totaling $22,739.69:

       A. The sum of $16,724.62 shall be paid to Blue Cross on their subrogation claim;

       B. The sum of $2905.07 to West Valley Medical Center;

       C. The sum of $300 to Rehab Authority in Caldwell;

       D. The sum of $1480 to Caldwell Physical Therapy; and

       E. The sum of $1330 to West Idaho Anesthesia LLP

       IT IS FURTHER ORDERED that payment to Debtors’ personal injury attorney, Nikki

Ramirez-Smith of Ramirez-Smith Law in the amount of $37,485.85 for attorney fees and costs is

hereby APPROVED. Said fees and costs, shall be paid to Debtor’s personal injury attorney from

the settlement proceeds. Of the remaining proceeds of $52,048.15 Ramirez-Smith Law shall turn

over fifty percent ($26,024.08) to the Debtors and fifty percent ($26,024.07) to the Trustee

within 14 days of the entry of this Order.

       IT IS FURTHER ORDERED that Trustee will disburse the proceeds being paid into

the plan to Debtors unsecured creditors upon confirmation of Debtors plan less trustee’s fees.


       IT IS FURTHER ORDERED that in the event that Nikki Ramirez-Smith receives any

additional funds as a result of the under insured motorist claim that said funds will be divided

one third to her Attorney’s fees, one third to the Debtors, and one third to the Chapter 13 Trustee

for the benefit of Debtors’ creditors.


       IT IS FURTHER ORDERED that in the event that Nikki Ramirez-Smith is able to

reduce the amount of the subrogation claim resulting in additional net proceeds, then the

additional funds will be divided equally between the Debtor and the bankruptcy estate for the

benefit of Debtors’ creditors//end of text//
Case 21-00327-NGH         Doc 40    Filed 10/12/21 Entered 10/13/21 09:44:17   Desc Main
                                   Document      Page 3 of 3


DATED: October 12, 2021

                                           _________________________
                                           NOAH G. HILLEN
                                           U.S. Bankruptcy Judge




Submitted by:
/s/_____________________________
Kathleen McCallister, Trustee


Approved as to form by:

/s/___________________________
Holly Sutherland for the Debtors
